          Case 3:05-cr-05547-BHS       Document 100       Filed 03/22/06     Page 1 of 2



 1                                                        JUDGE FRANKLIN D. BURGESS
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT TACOMA
 9
     UNITED STATES OF AMERICA,                )      NO. CR05-5547FDB
10                                            )
                  Plaintiff,                  )
11                                            )
                  vs.                         )      ORDER GRANTING STIPULATED
12                                            )      MOTION TO CONTINUE PRETRIAL
     KRISTOPHER KELLY NOLAN,                  )      MOTIONS’ DEADLINE
13 SPENCER JOHN NOLAN, and                    )
     TYLER LEE NOLAN,                         )
14                                            )
                  Defendants.                 )
15                                            )
16

17         Upon the stipulation of the parties to continue the due date for pretrial motions in
18 the above-captioned case, the Court finds that such a continuance would serve the ends

19 of justice, and that failure to grant the requested continuance would deny the defendants

20 the reasonable time necessary for effective preparation, taking into account the exercise

21 of due diligence, therefore,

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24 //

25 //

26 //

                                                                        FEDERAL PUBLIC DEFENDER
                                                                                      1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                             Tacoma, Washington 98402
     TO CONTINUE PRETRIAL MOTIONS’ DEADLINE         1                                         (253) 593-6710
           Case 3:05-cr-05547-BHS     Document 100     Filed 03/22/06   Page 2 of 2



 1          IT IS HEREBY ORDERED that the date for pretrial motions in this case be
 2 continued to April 6, 2006.

 3          DONE this 22nd day of March, 2006.
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 8
                                             FRANKLIN D. BURGESS
 9                                           UNITED STATES DISTRICT JUDGE
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11
     Presented By:
12

13 /s/
     Miriam F. Schwartz
14
     Attorney for Defendant Kristopher K. Nolan
15

16
     /s/
17 Phil I. Brennan
     Attorney for Defendant Tyler L. Nolan
18

19

20 /s/
   Michael E. Schwartz
21 Attorney for Defendant Spencer J. Nolan

22

23
   /s/
24 William H. Redkey
   Assistant United States Attorney
25

26

                                                                    FEDERAL PUBLIC DEFENDER
                                                                                1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                       Tacoma, Washington 98402
     TO CONTINUE PRETRIAL MOTIONS’ DEADLINE       2                                     (253) 593-6710
